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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                            FAYETTEVILLE DIVISION

JOAN DOE                                                                    PLAINTIFF

v.                               No. 5:21-CV-05231

UNIVERSITY OF ARKANSAS –
FAYETTEVILLE et. al                                                      DEFENDANTS
                                     JUDGMENT

      Pursuant to the order entered in this case on this date, IT IS CONSIDERED, ORDERED,

and ADJUDGED that all claims against Defendant University of Arkansas – Fayetteville are

DISMISSED WITH PREJUDICE. All other claims are DISMISSED WITHOUT PREJUDICE.

      IT IS SO ADJUDGED this 28th day of March, 2022.


                                                      /s/P. K. Holmes, III
                                                      P.K. HOLMES, III
                                                      U.S. DISTRICT JUDGE
